                                CERTIFICATE OF SERVICE

        I, Kevin S. Mann, hereby certify that on November 17, 2023, a true and correct copy of the

foregoing Notice of Agenda of Matters Scheduled for Hearing on November 21, 2023 at 10:00

a.m. (ET) was served upon all interested parties via CM/ECF and upon the attached service list by

first class mail.




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